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United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number {if known) Chapter 11

1 Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Etta Scottsdale, LLC

2. Allother names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
15301 Scottsdale Rd.
Scottsdale, AZ 85254 easaiaa _
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Maricopa Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

§. Debtor's website (URL)

6. Type of debtor @ Comperation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
0) Parinership (excluding LLP)
O Other. Specify:

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Case number (if known)

Debtor —_ Etta Scottsdale, LLC
Nama
7. Describe debtor's business A. Check one:

O) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Ci Single Asset Real Estate (as defined in 11 U.S.C. § 101{51B))
0 Railroad (as defined in 11 U.S.C. § 101{44))

O Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

© Clearing Bank (as defined in 41 U.S.C. § 781 (3)

BH None of the above

8. Check aif that apply
OD Tax-exempt entity (as described in 26 U.S.C. §501)

O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
D Investment advisor (as defined in 15 U.S.C. §80b-2(a}(11))

C. NAICS (North American Industry Classification System} 4-digit code that best describes debtor. See
http:/Avww.uscourts.qov/four-digit-national-association-naics-codes.

9.

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Under which chapter of the

Check one:
Bankruptcy Code is the
debtor filing? OC) Chapter 7
A debtor who is a “small O Chapter 9

business debtor’ must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11
(whether or not the dabtor is a
“small business debtor’) must
check the second sub-box.

O Chapter 12

Were prior bankruptcy No.
cases filed by or against Oo

the debtor within the last 8 Yes.
years?

If more than 2 cases, attach a .
separate list. District
District

oO

oo

Voluntary Petition for Non-Individuals Filing for Bankruptcy

@ Chapter 11. Check aif that apply.

The debtor is a small business debtor as defined in 11 U.S.C. § 101{51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1){B).

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and It chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, fallow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b)}.

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Atlachment to Voluntary Petition for Non-individuats Filing for Bankruptey under Chapter 11
{Official Form 201A) with this form.

The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

When
When

Case number
Case number

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Debior Etta Scottsdale, LLC

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Case number (if known)

Name

10. Are any bankruptcy cases

pending or being filed by a

business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

No
DO Yes.

Debtor

District

When

11, Why is the case filed in
this district?

Check ail that appty:

Relationship
Case number, if known

B Debtor has had its domicila, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OO Abankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

12, Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

Bi No

O ves Answer below for each property that needs immediate attention. Attach additional sheets if needed,

Why does the property need immediate attention? (Check all that apply.)

CZ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

0 It needs to be physically secured or protected from the weather.

C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options}.

D1 Other
Where is the property?

Number, Street, City, State & ZIP Code
Is the property insured?
OJ No

O Yes, Insurance agency

Contact name
Phone

PG statistical and administrative information

13. Debtor's estimation of
available funds

14. Estimated number of
creditors

Check one:

Bi Funds will be available for distribution to unsecured creditors.

0 After any administrative expenses are paid, no funds will be available to unsecured creditors.

O 1-49
50-99
D0 100-199
0 200-999

15. Estimated Assets

16. Estimated liabilities

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OD $0 - $50,000
0 $50,001 - $100,000

@ $100,001 - $500,000
0 $500,001 - $1 million

DO $6 - $50,000

0 1,000-5,000
0 §001-10,000
0 10,001-25,000

0 $1,000,001 - $40 million

0) $10,000,001 - $50 million
C1 $50,000,001 - $100 million
0 $100,000,001 - $500 million

0 25,001-50,000
0 50,001-100,000
CI More than100,000

0 $500,000,001 - $1 billion

0 $1,000,000,001 - $10 billion
© $10,000,000,001 - $50 billion
© More than $50 billion

BB $1,000,001 - $10 million

Voluntary Petition for Non-Individuals Filing for Bankruptcy

OC) $500,000,001 - $1 billion

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Debtor Etta Scottsdale, LLC Case number (if known)
‘Name - <——
DD $50,001 - $100,000 0 $10,000,001 - $50 million DO $1,000,000,001 - $10 billion
D $100,001 - $500,000 0 $50,000,001 - $100 million D0 $10,000,000,001 - $50 billion
D3 $500,001 - $1 million OD $100,600,001 - $500 million 0 More than $50 billion

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United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (it known) Chapter 41

O Check if this an
amended filing

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known). For more Information, a separate document, instructions for Bankruptcy Forms for Non-Individuats, |s avallable.

na Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct
| dedjare under penalty of perjury that the foregoing is true and correct.

Exec

Etta Collective, LLC, by its Manager David
Pisor__ poke =

Sidnature of adithorized' representative of debtor Printed name —

x

Title Manager

18. Signature of attorney X isi Maria Aprile Sawezuk Date January 18, 2024
Signature of attorney for debtor MM /OD/YYYY

Maria Aprile Sawezuk
Printed name

Goldstein & McClintock LLLP

Firm name

501 Silverside Road Suite
65

Wilmington, DE 19809
Number, Street, City, State & ZIP Code

Contact phone 302-444-6710 Email address marias@goldmclaw.com

3320 DE
Bar number and State

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